         Case 6:19-cv-00513-ADA Document 112 Filed 04/14/21 Page 1 of 14




                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                      WACO DIVISION

---------------------------------------------------------------- x
CloudofChange, LLC                                               )
                                                                 ) Case No. 6:19-CV-00513
                           Plaintiff,                            )
                                                                 )
         v.                                                      ) JURY TRIAL DEMANDED
                                                                 )
NCR Corporation                                                  )
                                                                 ) PUBLIC VERSION
                           Defendant.                            )
                                                                 )
---------------------------------------------------------------- x

                              NCR’S RESPONSE IN OPPOSITION TO
                            CLOUDOFCHANGE’S MOTIONS IN LIMINE

        Plaintiff CloudofChange, LLC’s (“CloudofChange” or “Plaintiff”) Motion in Limine

contains fourteen unrelated, standalone motions.        Defendant NCR Corporation (“NCR” or

“Defendant”) can agree, or can agree in part, to Nos. 3, 7, 10, 11, 12, and 14, but the remainder

have no merit and NCR requests that they be denied. Each is separately addressed below.

NCR’s Response to Motion in Limine 1: REFERENCES TO CLOUDOFCHANGE AS A
NON-PRACTICING ENTITY AND PATENT OWNER

        NCR should not be excluded from introducing evidence about CloudofChange, its

business, and its business structure nor be excluded from introducing evidence or information

about the entity that brought the suit, the partners, their ownership interests, or their interests in

the outcome of the litigation. All of this information is relevant and provides basis and evidence

for commercial success and damages. Courts have determined that these types of evidence and

information are relevant to damages and the Georgia-Pacific factors. See Carucel Invs., L.P. v.

Novatel Wireless, Inc., 16-cv-118, 2017 U.S. Dist. LEXIS 50855, *41-42 (S.D. Cal. Apr. 3, 2017)

(citing Digital Reg. of Texas, LLC v. Adobe Sys., Inc., 12-1971, 2014 U.S. Dist. LEXIS 115565, at

                                                  1

91610084v.1 1476756/00043
         Case 6:19-cv-00513-ADA Document 112 Filed 04/14/21 Page 2 of 14




*12 (N.D. Cal. Aug. 19, 2014) (explaining that the plaintiff’s “status as a non-practicing entity is

relevant to damages and the Georgia-Pacific factors.”) NCR should not be excluded from

identifying or referring to CloudofChange as a non-practicing entity because it is a neutral term

and not pejorative. NCR has never called, nor intends to identify, CloudofChange as a “troll” or

any other derogatory term. Yet, identifying CloudofChange as a non-practicing entity is accurate,

and not a pejorative term. SSL Servs., LLC v. Citrix Sys., 08-cv-158, 2012 U.S. Dist. LEXIS

198173, *7-8 (E.D. Tex. May 23, 2012) (“Citrix shall not refer to SSL using derogatory terms

including but not limited to ‘paper patent,’ ‘shell corporation,’ ‘patent troll,’ ‘pirates,’ ‘playing the

lawsuit lottery,’ and ‘corporate shell game,’ or any similar derogatory terms to identify SSL, SSL’s

patents in suit, or companies comparable to SSL. However, Citrix shall be permitted to refer to

SSL by the term ‘non-practicing entity’ or ‘non-practicing plaintiff.’”) (emphasis added); MLC

Intellectual Prop., LLC v. Micron Tech., Inc., 14-cv-03657, Case 6:18-cv-00308-ADA Document

232 Filed 04/29/20 Page 2 of 92 2019 U.S. Dist. LEXIS 120182, *4 (N.D. Cal Jul. 18, 2019)

(“Micron will not…nor will it be allowed to refer to MLC as a ‘patent troll’ or similar pejorative

term…However, Micron will be permitted to use more neutral terms such as ‘non-practicing

entity’ when referring to MLC.”) (emphasis added); Droplets, Inc. v Overstock.com, Inc, 11-cv-

401, Dkt. 321 (E.D. Tex. Dec. 10, 2014) (the Court “granted as to any references to Plaintiff as a

‘troll.’ This limine shall not prevent Defendants from referring to Plaintiff as a ‘patent assertion

entity’ or “nonpracticing entity.’”) Further, contrary to what CloudofChange contends, in

Rembrandt Wireless Techs., the Court concluded “[t]his limine shall not prevent Defendants from

arguing that Plaintiff is a patent assertion entity that does not manufacture or sell products in this

field.” Rembrandt Wireless Techs., LP v. Samsung Elecs. Co., 13-cv-213, 2015 U.S. Dist. LEXIS

20306, at *6-7 (E.D. Tex. Jan. 31, 2015). Accordingly, CloudofChange’s motion to exclude NCR


                                                   2

91610084v.1 1476756/00043
         Case 6:19-cv-00513-ADA Document 112 Filed 04/14/21 Page 3 of 14




from referring to CloudofChange’s business activities and structure and to prevent NCR from

referring to CloudofChange as a non-practicing entity or non-practicing plaintiff should be denied.

Packet Intelligence LLC v. NetScout Sys., 16- cv-230, 2017 U.S. Dist. LEXIS 222380, *7 (E.D.

Tex. Sep. 29, 2017) (denying plaintiff’s motion in limine to the extent it seeks to exclude

Defendant NetScout from referring to Packet Intelligence as a non-practicing entity or discussing

Packet Intelligence’s business model.)

NCR’s Response to Motion in Limine 2: DISPARAGING REMARKS OR ARGUMENTS
IMPLYING THAT IT IS IMPROPER TO ASSERT PATENTS WITHOUT PRACTICING
THEM

        Cloud of Change has argued that NCR should be precluded from making any disparaging

remarks or arguments implying that it is improper to assert patents without practicing them. NCR

has no intention to denigrate CloudofChange by asserting that CloudofChange does not produce

anything or contribute to the economy. However, NCR should be allowed to establish that

CloudofChange does not manufacture a product based on the asserted patents. See, e.g.

Intellectual Ventures II LLC v. FedEx Corp., Case No. 2:16-cv-00980, Dkt. 505, Order at 6-7

(E.D. Tex. April 26, 2018). The other cases cited by CloudofChange have nothing to do with

limine motions. In Summit Data Sys. v. EMC Corp., No. 10-749-GMS, 2014 WL 4955689, at *4

(D. Del. Sept. 25, 2014), the issue was whether it was proper to award attorneys’ fees after the

case had been voluntarily dismissed. And in Helicos Biosciences v. Illumina, Inc., 858 F. Supp.

2d 367, 373 (D. Del. 2012), the issue was whether it was proper to transfer the case under 28

U.S.C. § 1404(a).




                                                3

91610084v.1 1476756/00043
         Case 6:19-cv-00513-ADA Document 112 Filed 04/14/21 Page 4 of 14




NCR’s Response to Motion in Limine 3: REFERENCES TO PRIOR LITIGATIONS
INVOLVING CLOUDOFCHANGE WITNESSES

        CloudofChange has asked the Court to preclude reference to prior litigations involving

CloudofChange witnesses, including, but not limited to, Wayne Baratta, Quentin Olson, Ambreen

Salters, or Gregory Crouse. NCR will agree if CloudofChange is reciprocal to its witnesses.

NCR’s Response to Motion in Limine 4: REFERENCES TO NOTICE LETTERS SENT TO
THIRD PARTIES OTHER THAN NCR

        CloudofChange has asked the Court to preclude any reference to twenty six (26) notice

letters that it sent to third parties other than NCR, including, but not limited to, ShopKeep,

Square, LivePOS, Revention, Comcash, Linga POS, Epos Now, Cin7, Clover Network, Lau,

Toast, Ordyx, Oracle Corporation, Revel Systems, ECi Software Solutions, Upserve, Erply,

Queztal POS, Harbortouch of Lighthouse Network, eHopper, Cegid, Franpos, e-Nabler, Kounta,

COMBASE USA, and Vend, or any other argument, evidence, testimony, insinuation, or

reference to CloudofChange’s infringement investigations of parties or entities other than NCR,

or whether they do or do not infringe the claims of the Asserted Patents.

        These letters, and any responses thereto, relate only to the ‘640 patent and are referenced

by NCR’s damages expert, Devrim Ikizler, as one of the pieces of evidence one should consider

under Georgia Pacific when determining a reasonable royalty, and are therefore relevant and

admissible. Dr. Ikizler’s market value approach estimates the market value of the claimed

invention, and then apportions the aggregate market value among the number of alleged infringers

(or the number of notice letters CloudofChange sent to companies alleging use of the invention).

This approach to determining market share in the context of a market valuation to calculate patent

damages is reliable and helpful to the jury, and it is consistent with modern literature on economic

valuation of patent damages. See Expert Report of Dr. Devrim Ikizler, March 4, 2021 at ¶¶125-

129 (“Report”) (citing Spulber, Daniel F. “Finding Reasonable Royalty Damages: A Contract
                                              4

91610084v.1 1476756/00043
         Case 6:19-cv-00513-ADA Document 112 Filed 04/14/21 Page 5 of 14




Approach to Patent Infringement.” U. Ill. L. Rev. (2019) at 6-7 (describing the market value

approach as a reasonable economic analysis “because it relies on market information . . . [and]

compensates the patent holder for the expected value of licensing royalties lost due to

infringement. This method addresses evidence requirements because it uses observable market

information and can be applied even when there are no comparable contracts.”). Dr. Ikizler states

in his Report at paragraph 125:

                Next, apportioning this value to       licensees, the number of companies CoC
                sent notice letters (assuming equal market share),111 I estimated
                as the fair share of NCR for splitting the market value.112 The literature
                suggests that market share of each company should be considered when
                splitting the total market value of the invention to each licensee.113
                Although I don’t have access to the market shares, I understand that NCR’s
                share is                     , and                   is consistent with Keith
                Dunphy’s estimate.
        Dr. Ikizler uses the number of letters as a proxy for determining NCR’s relevant market

share because the number of potential infringers, which presumably derives from an analysis by

CloudofChange and its lawyers of potential infringers, represents the potential market for licensing

CloudofChange’s patents. Accordingly, the number of notice letters CloudofChange sent to

alleged infringers is relevant to determining a reasonable royalty based upon the market value

approach.

        NCR also wishes to use these letters, and any responses thereto, because they show how

CloudofChange’s infringement allegations were not reasonable. For example, CloudofChange

sent a notice letter to Oracle accusing a POS system that had recently been acquired by Oracle

without conducting an adequate investigation of that system. Shortly after being informed by

Oracle that the accused POS system predated the ‘640 patent, CloudofChange promptly filed an


                                                   5

91610084v.1 1476756/00043
         Case 6:19-cv-00513-ADA Document 112 Filed 04/14/21 Page 6 of 14




Information Disclosure Statement in the then-pending ‘012 patent disclosing the accused POS

system to the PTO. CloudofChange received similar responses to many of the notice letters

indicating that the ‘640 patent was invalid and not infringed. Accordingly, this evidence should

be allowed.

NCR’s Response to Motion in Limine 5: REFERENCES TO NON-ELECTED PRIOR
ART SHOULD BE PERMITTED FOR BACKGROUND INFORMATION

        NCR agrees not to argue that non-elected prior art invalidates the claims of the asserted

patents. Non-elected prior art, however, is admissible to provide background information, to

show the state of the art, and to show the knowledge of one skilled in the art.

        To the extent NCR relies on unelected prior art references to provide background

information relevant to the asserted patents, the state of the art, or establishing what one skilled in

the art would have known at the time of the invention, NCR may discuss unelected prior art. Papst

Licensing, 2018 WL 10126729, at *1 (E.D. Tex. Oct. 25, 2018); see Transdata, Inc. v. Centerpoint

Energy Houston Elec. LLC, 6:10-cv-557-RWS-JDL, at *1 (E.D. Tex. July 1, 2016) (permitting

reference to unelected prior art for “background purposes or to generally discuss the state of the

art”); Core Wireless, 2016 WL 4718963, at *2 (E.D. Tex. July 12, 2016) (“[Defendant’s] experts

may discuss non-elected prior art when explaining the state of the art.”). The cases cited by

CloudofChange do not preclude the use of non-elected prior art for background purposes. Core

Wireless expressly permits non-elected prior art “when explaining the state of the art.” Id.

Metaswitch and Key Energy relate to the use of non-elected prior art for proving invalidity rather

than the state of the art or background. See Metaswitch Networks Ltd. v. Genband US LLC, No.

2:14-cv-744-JRG-RSP, 2014 WL 3618831, at *3 (E.D. Tex. Mar. 1, 2016); Key Energy Servs.,

Inc. v. C.C. Forbes, LLC, No. 2:08-cv-346-CE, 2011 WL 7429433, at *2 (E.D. Tex. June 3, 2011).

NCR does not oppose a motion precluding non-elected prior art for the purposes of proving

                                                  6

91610084v.1 1476756/00043
         Case 6:19-cv-00513-ADA Document 112 Filed 04/14/21 Page 7 of 14




invalidity. However, NCR should be able to rely on non-elected prior art for background purposes

and to discuss state of the art.

NCR’s Response to Motion in Limine 6: NCR WILL NOT ARGUE INVALIDITY OR
NON-INFRINGEMENT BASED ON A “PRACTICING THE PRIOR ART” DEFENSE
        NCR agrees not to argue invalidity or non-infringement based on comparing the prior art

to the accused devices (i.e., practicing the prior art defense). However, NCR should be allowed

to identify apparent contradictions or inconsistencies between CloudofChange’s infringement and

validity theories as a means of cross-examination or impeachment. Saint Lawrence Commc. LLC

v. ZTE Corp., 15-cv-349, 2017 WL 11517123, *1 (E.D. Tex. Mar. 2, 2017) (“Motorola may

identify apparent contradictions or inconsistencies between SLC’s infringement theories and

SLC’s validity theories as a means of cross-examination or impeachment.”). Furthermore, NCR

should be allowed to reference the prior art and the accused device for background information,

such as the state of the art, and to explain features of the accused device. Papst Licensing GMBH

v. Samsung Elecs. Co., 18-cv-00388, 2018 WL 10126729, at *1 (E.D. Tex. Oct. 25, 2018)

(permitting discussion of prior art for background and state of the art, and evidence about the

embodiments of the patent to educate the jury about the patent). NCR should also be allowed to

argue the axiom that “a product ‘which would literally infringe if later in time anticipates if

earlier.’” Upsher-Smith Laboratories, Inc. v. Pamlab, L.L.C., 412 F.3d 1319, 1322 (Fed. Cir.

2005) (internal citations omitted); accord Peters v. Active Mfg. Co., 129 U.S. 530, 537 (1889)

(“That which infringes, if later, would anticipate, if earlier.”).          Accordingly, while

CloudofChange’s motion is overly broad and should be denied, NCR does not oppose a narrow

motion precluding reliance on a “practicing the prior art” defense.




                                                7

91610084v.1 1476756/00043
         Case 6:19-cv-00513-ADA Document 112 Filed 04/14/21 Page 8 of 14




NCR’s Response to Motion in Limine 7: REFERENCES TO FORUM SHOPPING,
LITIGATION ABUSE, OR THE WESTERN DISTRICT OF TEXAS AS A POPULAR
VENUE FOR PATENT LITIGATION OR AS AN IMPROPER VENUE

        NCR agrees to this Limine motion.

NCR’s Response to Motion in Limine 8: REFERENCES TO NCR’S 414 PATENTS
SHOULD NOT BE EXCLUDED
        NCR agrees to not argue that its patents constitute a defense to infringement of the asserted

patents. However, NCR should be allowed to use its own patents to argue invalidity of the

asserted patents and lack of willfulness. See Advanced Technology Incubator, Inc. v. Sharp Corp.,

Civil Action No. 5:09-cv-135-DF-CMC, 2010 WL 11451797, * 2 (E.D. Tex. Mar. 31, 2010).

NCR should also be allowed to use its own patents to demonstrate it is a cutting-edge technology

company that highly values intellectual property and has a long history of innovations.

        Moreover, NCR’s patents were used by NCR’s damages expert Dr. Ikizler, who performed

a quantitative comparison of the asserted patents in relation to all NCR patents that are

“similar” to the asserted patents. See Report at p. 28 (citing Shu-Hao, C., Hsin-Yuan, C., &

Chin-Yuan, F. (2018). Structural model of patent quality applied to various countries.

International         Journal      of       Innovation        Science,        10(3),         371-384.

doi:http://dx.doi.org.ezproxy.lib.utexas.edu/10.1108/IJIS-05-2017-0036         (estimating      such

weights as 20.11 and 34.11 for number of claims and forward citations, respectively)).

        Comparable analyses are widely accepted in the context of patent infringement cases, and

forward citation analysis in the context of patent cases is widely recognized as sound economic

analysis. See generally Better Mouse Co., LLC v. Steelseries ApS, et al., Case No. 2:14-cv-198-

RSP 2016 WL 3611528 (E.D. Tex. Jan. 4, 2016) at *2-3 (overruling motion to exclude Patent

Citation Analysis); Comcast Cable Comm. LLC v. Sprint Comm Co. L.P., 218 F.Supp.3d 375,

382-83 (E.D. Pa. 2016) (approving patent citation analysis and recognizing expressly that courts

                                                  8

91610084v.1 1476756/00043
         Case 6:19-cv-00513-ADA Document 112 Filed 04/14/21 Page 9 of 14




have not rejected forward citation analysis). Cf Finjan Inc. v. Blue Coat Syst., Inc., Case No. 13–

cv–03999–BLF 2015 WL 4272870 (N.D. Cal. Jul. 14, 2015) at *8 (rejecting patent citation

analysis because expert did not align it with the “facts of the case” while recognizing other courts

have accepted patent forward citation analysis under different circumstances); Oracle Am., Inc.

v. Google, Inc., No. C 10–03561 WHA, 2012 WL 877125 (N.D. Cal. Mar. 15, 2012) at *2

(recognizing validity of Patent Citation Analysis but excluding portions of expert testimony that

incorrectly implemented the methodology).

        The purpose of this analysis is to estimate the relative value of the patents in suit in relation

to NCR’s portfolio of relevant patents. NCR’s patent portfolio can be thought of as a combination

of NCR’s investments in their own innovation and acquisitions with the goal of extending their

technological abilities. To create a list of “similar” patents, Dr. Ikizler first identified the CPC

classifications used in the patents in suit, which include G06F8/34, G06Q30/06, G06F8/30,

G06Q20/20, G06Q20/202, H 04L67/02, and then he identified all NCR patents with the relevant

classifications. Next, Dr. Ikizler identified the POS-related patents within NCR’s portfolio. Once

he determined the relevant set of NCR patents for comparison, Dr. Ikizler then performed a

comparative analysis among the asserted patents and the similar NCR patents using two measures

that have been shown to be most positively correlated with a patent’s value: (i) the number of

forward citations, and (ii) the number of claims. In order to calculate the relevant value of the

asserted patents with respect to NCR’s patent portfolio, Dr. Ikizler totaled the relevant measures

to get age-adjusted forward citations and the total number of claims of the asserted patents, and

then he divided these quantities by the respective sum of all of NCR’s patents. He then applied

factor weights obtained from research literature to calculate a weighted relevant importance ratio,

using relevant factor weights of                               . These percentages yield a statistical


                                                    9

91610084v.1 1476756/00043
        Case 6:19-cv-00513-ADA Document 112 Filed 04/14/21 Page 10 of 14




estimate as to how important the asserted patents are in terms of their contribution to the existing

POS-related technology portfolio of NCR. According to Dr. Ikizler’s estimation, the asserted

patents’ relative contribution to NCR’s related patent portfolio would be

       for purposes of calculating a reasonable royalty in a hypothetical negotiation. Finally, Dr.

Ikizler multiplies the mid-point of the apportionment range by NCR’s                   gross profits

between July 2016 and December 2020, to arrive at              .

        A blanket prohibition of the use of NCR’s patents is inappropriate. At a minimum NCR

should be able to use its patent portfolio to show its history of innovation, and as part of its

damages theories espoused by Dr. Ikizler.

NCR’s Response to Motion in Limine 9: EXCEL SPREADSHEET PREPARED BY NCR

        First, claiming the document is “irrelevant” to NCR’s present case, CloudofChange seeks

to preclude NCR from attempting to introduce into evidence or making reference to a certain NCR

Excel spreadsheet (NCR006345) because the document was prepared by a summer intern and was

supposedly not used by NCR in its business. Second, citing to Fed. R. Evid. 403, CloudofChange

argues that even if it is relevant, NCR should not be allow to introduce this spreadsheet because it

would only serve to confuse the jury by improperly providing “weighted factors” of different POS

product features.

        This spreadsheet contains a list of product features of NCR’s Silver product as well as

features from competitor’s products. While Ms. Schoonover, NCR’s corporate representative, did

not know who originally assembled the product features chart, she testified that a summer intern

applied the relative weights of importance to the overall features list. The document is clearly not

hearsay and in any event NCR should be allowed to lay a foundation for its admissibility.

CloudofChange’s motion is nothing but a premature attack that should be reserved until trial.


                                                 10

91610084v.1 1476756/00043
        Case 6:19-cv-00513-ADA Document 112 Filed 04/14/21 Page 11 of 14




NCR’s Response to Motion in Limine 10: REFERENCES TO ALLEGATIONS THAT
INDIVIDUAL CLAIM ELEMENTS WERE IN THE PRIOR ART

        NCR will agree to not argue that individual claim elements being known in the art is

sufficient to defeat the patentability of the combined subject matter as a whole. However,

individual claim elements being known in the art is evidence of the state of the art and should be

admissible. See Markman v. Westview Instruments, Inc., 52 F.3d 967 (Fed. Cir. 1995) (“Extrinsic

evidence consists of all evidence external to the patent and prosecution history, including expert

and inventor testimony, dictionaries, and learned treatises. This evidence may be helpful to explain

scientific principles, the meaning of technical terms, and terms of art that appear in the patent and

prosecution history. Extrinsic evidence may demonstrate the state of the prior art at the time of the

invention. It is useful ‘to show what was then old, to distinguish what was new, and to aid the court

in the construction of the patent.’”.) Id. at 980, citing Brown v. Piper, 91 U.S. 37, 41, 23 L.Ed.

200 (1875).

NCR’s Response to Motion in Limine 11: DISPARAGING REMARKS ABOUT THE PTO

        CloudofChange claims that NCR should be precluded from making disparaging remarks

regarding the quality of the PTO and its examiners, including that examiners are overworked or that

the PTO is prone to error.

        NCR has no intention of disparaging the Patent and Trademark Office (“PTO”) or its

Examiners, including arguments that the PTO is overburdened, incompetent, dysfunctional, or

not diligent. NCR is permitted, however, to discuss PTO practices and procedures, and to argue

the PTO made mistakes in granting the asserted patent. See Core Wireless Licensing S.A.R.L. v.

LG Elecs., Inc., 14-cv-911, 2016 WL 4718963, at *2 (E.D. Tex. July 12, 2016) (“[Defendant]

may offer evidence and argument that specific mistakes were made in connection with the

prosecution of the asserted patents.”). NCR is also permitted to present evidence that the PTO

                                                 11

91610084v.1 1476756/00043
        Case 6:19-cv-00513-ADA Document 112 Filed 04/14/21 Page 12 of 14




makes mistakes and the jury must independently assess invalidity, including providing PTO

workload and efficiency statistics. Datatreasury Corp. v. Wells Fargo & Co., 06-cv-72, 2010

WL 11468934, at *4 (E.D. Tex. Oct. 5, 2010) (“…Defendants should be permitted to note . . .

that the PTO may make mistakes and that the jury has an independent role in assessing validity.

… Defendants may not argue or suggest that the PTO is “dysfunctional” or not diligent, but

Defendants may submit PTO workload and efficiency statistics, may argue that the PTO may

make mistakes, and may urge that the jury has an independent role in assessing validity.”.)

Indeed, information on the PTO’s workload and efficiency is included in the Federal Judicial

Center Video that has been widely used by courts within the Fifth Circuit and beyond. See, e.g.,

id. CloudofChange cannot use a motion in limine to perpetuate an argument that the PTO is

infallible, and the jury must defer to the PTO’s determinations on validity. In sum, NCR does

not oppose a motion prohibiting disparaging comments regarding the Patent Office and its

Examiners. But, CloudofChange’s motion is overly broad, and NCR should be permitted to

discussed PTO practices and procedures.

NCR’s Response to Motion in Limine 12: REFERENCES TO EVIDENCE OR
ARGUMENT THAT IS INCONSISTENT WITH THE COURT'S CLAIM
CONSTRUCTIONS

        NCR agrees to this Limine motion.

NCR’s Response to Motion in Limine 13: REFERENCES TO A CHART PREPARED BY
DEFENDANTS’ TECHNICAL EXPERT CHATTERJEE

        CloudofChange seeks to prevent any testimony regarding a chart prepared by Dr. Sandeep

Chatterjee, NCR’s technical expert, because the chart was allegedly prepared and produced

untimely. However, the chart prepared by Dr. Chatterjee was in direct response to a similar patent

chart submitted by CloufofChange’s technical expert Gregory Crouse on March 23, 2021

purporting to show that many of NCR’s patents were not relevant to the accused product, NCR
                                               12

91610084v.1 1476756/00043
        Case 6:19-cv-00513-ADA Document 112 Filed 04/14/21 Page 13 of 14




Silver. Accordingly, NCR should not be barred from making any reference to or presenting any

evidence, testimony, or opinions contained in the new chart because it was prepared as a direct

result of CloudofChange’s expert’s untimely submission of his own patent chart. See also NCR’s

response to Motion in Limine 8 above.

NCR’s Response to Motion in Limine 14: REFERENCES TO CLOUDOFCHANGE’S
ATTORNEY FEE AGREEMENTS

        NCR agrees to this Limine motion.

                                         CONCLUSION

        For the reasons set forth above, NCR respectfully requests that the Court deny or limit the

foregoing motions in limine as set forth herein.




                                                   13

91610084v.1 1476756/00043
        Case 6:19-cv-00513-ADA Document 112 Filed 04/14/21 Page 14 of 14




 Dated: April 7, 2021                             Respectfully submitted,

                                                  /s/ Charles E. Phipps
                                                  Charles E. Phipps
                                                      Texas State Bar No. 00794457
                                                      cphipps@lockelord.com
                                                  Charles S. Baker
                                                      Texas State Bar No. 01566200
                                                      cbaker@lockelord.com
                                                  Steven F. Meyer
                                                      Admitted pro hac vice
                                                      smeyer@lockelord.com
                                                  Donald E. Frechette
                                                      Admitted pro hac vice
                                                      donald.frechette@lockelord.com
                                                  Scarlett Collings
                                                      Texas State Bar No. 24001906
                                                      scarlett.collings@lockelord.com
                                                  Daniel G. Nguyen
                                                      Texas State Bar No. 24025560
                                                      dnguyen@lockelord.com
                                                  LOCKE LORD LLP
                                                  2200 Ross Avenue, Suite 2800
                                                  Dallas, Texas 75201
                                                  (214) 740-8000 Telephone
                                                  (214) 740-8800 Facsimile

                                                  ATTORNEYS FOR DEFENDANT
                                                  NCR CORPORATION



                                CERTIFICATE OF SERVICE

        I hereby certify that on April 7, 2021, I caused the foregoing document to be filed with the
Clerk of the Court using the CM/ECF system, which sent electronic notification of such filing to
all other counsel of record.

                                                     /s/ Charles E. Phipps
                                                     Charles E. Phipps




                                                14

91610084v.1 1476756/00043
